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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA
Plaintiff,

          v                                               CASE NO. 08-204-84 (DRD)

CHRISTOPHER FIGUEROA-ORTIZ
Defendant.


           INFORMATIVE MOTION NOTIFYING NEW VIOLATIONS OF RELEASE
                     AND REQUESTING AN ARREST WARRANT


          COMES NOW, TAISA MOJICA, UNITED STATED PROBATION OFFICER OF

THIS COURT, to respectfully inform and request as follows:

          On February 7, 2017, Mr. Figueroa-Ortiz commenced serving his term of

supervised release which is due to expire on April 16, 2027. Since his release, Mr.

Figueroa-Ortiz has incurred in the following violation:

      1. VIOLATION OF MANDATORY CONDITION NO. 1 – “YOU MUST NOT COMMIT

          ANOTHER FEDERAL, STATE OR LOCAL CRIME.”

          On January 25, 2022, Mr. Figueroa-Ortiz was arrested and charged 1 for violations

to Title 18 U.S.C. § § 922(g)(1) and (o), that is, felon in possession of firearms and illegal

possession of a machine gun, respectively. On January 26, 2022, initial appearance was

held before United States Magistrate Judge Marshal D. Morgan. The Court ordered Mr.

Figueroa-Ortiz to be temporarily detained pending further proceedings.           Preliminary

examination/detention hearing has been set for February 17, 2022.




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       WHEREFORE, in lieu of the above-mentioned supervised violation and unless

ruled otherwise, it is respectfully requested that a warrant for arrest be issued so that Mr.

Figueroa-Ortiz may be brought before this Court to show cause why his supervised

release term should not be revoked.

       In San Juan, Puerto Rico, this 31st day of January 2022.

                                             Respectfully submitted,

                                             LUIS O. ENCARNACIÓN, CHIEF
                                             U.S. PROBATION OFFICER

                                             s/ Taisa Mojica
                                             TAISA MOJICA
                                             U.S. Probation Officer
                                             150 Carlos Chardón Ave.
                                             Federal Office Building, Office 225
                                             San Juan, PR 00918
                                             Tel. No. (787) 696-4682
                                             taisa_mojica@prp.uscourts.gov



                               CERTIFICATE OF SERVICE

       I HEREBY certify that I electronically filed the foregoing motion with the Clerk of

the Court using the CM/ECF system which will send notification of such filing to the parties

in this case.


       In San Juan, Puerto Rico, this 31st day of January 2022.

                                             s/ Taisa Mojica
                                             TAISA MOJICA
                                             U.S. Probation Officer
